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                       EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

                               )
UNITED STATES SECURITIES       )
AND EXCHANGE COMMISSION,       )
                               )
                Plaintiff,     )                            Civil Action No. 18-cv-5587
                               )
v.                             )                            Hon. John Z. Lee
                               )
EQUITYBUILD, INC., EQUITYBUILD )                            Magistrate Judge Young B. Kim
FINANCE, LLC, JEROME H. COHEN, )
and SHAUN D. COHEN,            )
                               )
                Defendants.    )
                               )

                DECLARATION OF KEVIN B. DUFF IN SUPPORT OF
                 RECEIVER’S MOTION FOR ENTRY OF AN ORDER:
                    (1) ESTABLISHING A CLAIMS BAR DATE;
           (2) FINDING THAT THE RECEIVER GAVE FAIR, ADEQUATE,
          AND SUFFICIENT NOTICE TO ALL INTERESTED PARTIES; AND
     (3) APPROVING PROOF OF CLAIM FORM AND SUMMARY PROCEDURES

        I, Kevin B. Duff, declare:

        1.      I am the Court’s appointed Receiver for EquityBuild, Inc., EquityBuild Finance,

LLC, their affiliates, and the affiliate entities of Jerome Cohen and Shaun Cohen as described in

the Order Appointing Receiver (“Receivership Defendants.”) (Docket No. 16)

        2.      I have personal knowledge of the contents of this declaration and am competent to

testify as set forth herein.

        3.      Attached as Exhibit 1 is a list of 158 affiliate entities that I presently believe to be

within the Receivership Estate.

        4.      As Receiver, I have worked diligently to administer the Receivership Estate. My

team and I have spent considerable time and resources examining the numerous documents
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related to the Receivership Defendants. Our work to date reveals to a near certainty that the

collective assets of the Receivership Defendants will be insufficient to pay 100% of the amounts

anticipated to be claimed. It is therefore necessary to establish a procedure to administer claims

against the Receivership Defendants.

         5.      A copy of the Notice of Bar Date that I propose to serve all known potential

claimants is attached hereto as Exhibit 2. I will serve all known potential claimants of which I

am currently aware by email (through Axos Fiduciary Services email noticing service), to the

extent I have an email address, or by regular mail if I have a known mailing address and no

known email address, within thirty (30) days after entry of the order sought by this Motion, with

a Notice of Bar Date and a link to the Axos Claims Portal containing a proof of claim form

(“Claim Form”). I will also send a follow-up email (or mail, where necessary) 30 days and 60

days after the Bar Date Notice and Claim Form are first sent. This follow-up email will remind

claimants of the Bar Date, and will again include the Bar Date Notice and link to the Axos

Claims Portal.

         6.      I will also serve all known potential claimants with a link to the Axos Claims

Portal containing a Claim Form substantially in the form of the document attached hereto as

Exhibit 3.

         7.      I believe the proposed summary procedure set forth in the Motion will both

minimize expense and delay and maximize distributions to investors and creditors of

EquityBuild and the Receivership Estate. I believe these procedures are in the best interest of the

estate and therefore respectfully request the Court grant the Motion.

         8.      Based on the progress made thus far in the administration of the Estate, I believe

it is now appropriate for, and therefore request, the Court to enter an Order: (i) establishing a



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claims bar date; (ii) finding that the Receiver has given fair, adequate, and sufficient notice to all

interested parties; and (iii) approving a proof of claim form and summary claims procedure.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on February 22, 2019




                                                __________________________________________

                                                        Kevin B. Duff, Receiver




                                                   3	
	                                                          	
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                            EXHIBIT 1




	                                                	
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                              RECEIVERSHIP DEFENDANTS

The Receivership Defendants include but are not limited to the entities listed below.
Parenthetical information reflects state of organization (where needed to distinguish entities of
similar name).

     •   EquityBuild, Inc.
     •   EquityBuild Finance LLC
     •   109 N. Laramie, Inc.
     •   400 S. Kilbourn LLC
     •   1422 E68 LLC
     •   1632 Shirley LLC
     •   1700 Juneway LLC
     •   2136 W 83RD LLC
     •   2537 N McVicker LLC
     •   3400 Newkirk, LLC
     •   4520-26 S. Drexel LLC - n/k/a SSDF1 4520 S Drexel LLC
     •   4528 Michigan LLC
     •   4533-37 S. Calumet LLC
     •   4611-17 S. Drexel, LLC
     •   4750 Indiana LLC – n/k/a 4750 S Indiana, LLC
     •   4755 S Saint Lawrence Association Co.
     •   5001 S. Drexel LLC (DE)
     •   5001 S. Drexel LLC (IL)
     •   5411 W Wrightwood LLC
     •   5450 S. Indiana LLC
     •   5618 S MLK LLC
     •   5955 Sacramento, Inc.
     •   6001 Sacramento, Inc.
     •   6217-27 S. Dorchester LLC
     •   6250 S. Mozart, LLC
     •   6356 California, Inc.
     •   6437 S Kenwood, LLC
     •   6951 S Merrill LLC
     •   7024 S. Paxton LLC
     •   7026 Cornell, Inc.
     •   7107-29 S Bennett LLC
     •   7109 S. Calumet LLC
     •   7201 Constance Inc.
     •   7201 S Constance LLC
     •   7304 St. Lawrence, Inc.
     •   7450 Luella LLC
     •   7546 Saginaw, Inc.
     •   7546 S. Saginaw LLC


	                                                      	
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     •   7600 S Kingston, LLC
     •   7625 East End, Inc.
     •   7625-35 S. East End LLC
     •   7760 Coles, Inc.
     •   7635 East End, Inc.
     •   7748 S. Essex LLC
     •   7749-59 S. Yates LLC
     •   7752 S. Muskegon LLC
     •   7823 Essex LLC
     •   7922 S Luella LLC
     •   7927-49 S Essex LLC
     •   7933 S Kingston LLC
     •   7945 S Kenwood LLC
     •   8000 Justine, Inc.
     •   8100 S. Essex LLC
     •   8104 S Kingston LLC
     •   8153 S Avalon LLC
     •   8209 S. Ellis, LLC
     •   8214 Ingleside, Inc.
     •   8217 Dorchester LLC
     •   8311 S Green LLC
     •   8432 S Throop Associates
     •   8725 S Ada LLC
     •   8745 S Sangamon LLC
     •   8801 S Bishop LLC
     •   8809 S Wood Associates
     •   9158 S Dobson LLC
     •   11318 S Church St Associates
     •   Amalgamated Capital Fund II LLC
     •   Amalgamated Capital Fund III LLC
     •   Chicago Capital Fund I LLC
     •   Chicago Capital Fund II LLC
     •   Chief Management LLC
     •   EB 6558 S. Vernon LLC
     •   EB Property Holdings LLC
     •   EB South Chicago 1, LLC
     •   EB South Chicago 2, LLC
     •   EB South Chicago 3 LLC
     •   EB South Chicago 4 LLC
     •   EB South Chicago 1 Manager, LLC
     •   EB South Chicago 2 Manager, LLC
     •   Eretz Private Capital LLC
     •   Friendship LLC
     •   Great Lakes Development Corp LLC

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     •   Hard Money Company, LLC
     •   Heartland Capital Fund I LLC
     •   Heartland Capital Fund II, LLC
     •   Heartland Development Fund I LLC
     •   Heartland Private Capital, LLC
     •   Hybrid Capital Fund LLC
     •   Offsite Asset Management I LLC
     •   Offsite Asset Management II LLC
     •   Offsite Asset Management LLC
     •   Phoenix Capital Finance LLC
     •   Portfolio Asset Holdings LLC
     •   Portfolio Mezzanine Lender, LLC
     •   Rothbard Equity Fund LLC
     •   South Shore Property Holdings LLC (DE)
     •   South Shore Property Holdings LLC (WY)
     •   South Shore Property Holdings I LLC
     •   South Shore Property Holdings II LLC (DE)
     •   South Shore Property Holdings II LLC (WY)
     •   South Shore Property Holdings III LLC
     •   South Side Development Fund 1 LLC
     •   South Side Development Fund 2 LLC
     •   South Side Development Fund 3 LLC
     •   South Side Development Fund 4 LLC
     •   South Side Development Fund 5 LLC
     •   South Side Development Fund 6 LLC
     •   South Side Development Fund 7 LLC
     •   South Side Development Fund 8, LLC
     •   SSDF1 4611 S. Drexel LLC
     •   SSDF1 6751 S Merrill LLC
     •   SSDF1 7110 S Cornell LLC
     •   SSDF1 Holdco 1, LLC
     •   SSDF1 Holdco 2 LLC
     •   SSDF1 Holdco 3 LLC
     •   SSDF1 Holdco 4 LLC
     •   SSDF2 1139 E 79th LLC
     •   SSDF2 Holdco 1 LLC
     •   SSDF2 Holdco 2 LLC
     •   SSDF2 Holdco 3 LLC
     •   SSDF3 Holdco 1 LLC
     •   SSDF3 Holdco 2 LLC
     •   SSDF4 638 N Avers LLC
     •   SSDF4 701 S 5th LLC
     •   SSDF4 6217 S. Dorchester LLC
     •   SSDF4 6250 S. Mozart LLC

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     •   SSDF4 7024 S Paxton LLC
     •   SSDF4 7255 S. Euclid LLC
     •   SSDF4 Holdco 1 LLC
     •   SSDF4 Holdco 2 LLC
     •   SSDF4 Holdco 3 LLC
     •   SSDF4 Holdco 4 LLC
     •   SSDF4 Holdco 5 LLC
     •   SSDF4 Holdco 6 LLC
     •   SSDF5 Holdco 1 LLC
     •   SSDF5 Portfolio 1 LLC
     •   SSDF6 6160 S MLK LLC
     •   SSDF6 6244 S MLK LLC
     •   SSDF6 Holdco 1 LLC
     •   SSDF6 Holdco 2 LLC
     •   SSDF7 2453 E 75TH LLC
     •   SSDF7 7600 S Kingston LLC
     •   SSDF7 Holdco 1 LLC
     •   SSDF7 Holdco 2 LLC
     •   SSDF7 Holdco 3 LLC
     •   SSDF7 Holdco 4 LLC
     •   SSDF7 Marquette Park LLC
     •   SSDF7 Portfolio 1 LLC
     •   SSDF8 Holdco 1 LLC
     •   SSDF8 Portfolio 1 LLC
     •   SSPH 6951 S Merrill LLC
     •   SSPH 7927-49 S. Essex LLC
     •   SSPH 11117 S Longwood LLC
     •   SSPH Holdco 1 LLC
     •   SSPH Holdco 2 LLC
     •   SSPH Portfolio 1 LLC
     •   SSPH Springer LLC
     •   Tikkun Holdings, LLC
     •   Any affiliate entity of EquityBuild Inc., EquityBuild Finance LLC, Jerome Cohen, and/or
         Shaun Cohen




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                            EXHIBIT 2




	                                                 	
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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                  )
UNITED STATES SECURITIES                          )
AND EXCHANGE COMMISSION,                          )
                                                  )
Plaintiff,                                        ) Civil Action No. 18-cv-5587
                                                  )
v.                                                ) Hon. John Z. Lee
                                                  )
EQUITYBUILD, INC., EQUITYBUILD                    ) Magistrate Judge Young B. Kim
FINANCE, LLC, JEROME H. COHEN,                    )
and SHAUN D. COHEN,                               )
                                                  )
Defendants.                                       )
                                                  )

        DEADLINE FOR SUBMITTING CLAIMS: __________________________

        PLEASE TAKE NOTICE that the Honorable ____________ of the United States
District Court for the Northern District of Illinois (the “Court”) has entered an order establishing
_______________ as the deadline (the “Bar Date”) by which all proofs of claim by any
individual or entity who purports to be owed money by, or otherwise entitled to relief against,
EquityBuild, Inc. (“EquityBuild”), EquityBuild Finance, LLC (“EquityBuild Finance”), or any
of their affiliates, or the affiliate entities of Jerome Cohen and Shaun Cohen. This proof of claim
form is to be used by persons or entities who claim to be owed money by, or otherwise entitled to
relief against the following:

       •       EquityBuild;

       •       EquityBuild Finance;

       •       Any affiliate entity of EquityBuild, EquityBuild Finance, Jerome Cohen, and/or
               Shaun Cohen.

        The foregoing, which include but are not limited to the entities listed on Exhibit A, are
collectively the “Receivership Defendants.” These entities directly or indirectly own or once
owned real estate that may have served as collateral for loans or that may have been owned by
entities associated with equity funds that sold membership interests to outside investors.

        As a result of recovering, managing, and selling the assets of the Receivership
Defendants (referred to herein as the “Receivership Estate”) and pursuing claims on behalf of the
Receivership Estate, Court-appointed receiver Kevin B. Duff (the “Receiver”) may have funds to
distribute to claimants. This proof of claim form is being made available to you so that the
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Receiver may assess whether and to what extent you may have one or more valid claims for
relief (including claims for monetary compensation) against, or in connection with your
ownership interest in, any of the Receivership Defendants. The Receiver’s distribution plan will
likely observe distinctions between competing claimant classes, and therefore the amount of your
recovery, if any, may be affected by your ability to produce documentation supporting your
claim. Accordingly, you must be clear and precise when completing this form and you must
submit legible copies of requested supporting documents so that your claim can be properly
evaluated.

       To be eligible for any distribution, you MUST do EACH of the following, even if you
have previously submitted correspondence and/or documents to the Receiver, to a lawyer,
to a government agency, or to law enforcement officials:

       1. Complete and submit the proof of claim form to the Receiver by [Bar Date].

       2. Submit documentation or other evidence to the Receiver to substantiate the basis
          for all amounts that you believe are due and owing to you by any of the
          Receivership Defendants.

       3. Attest under oath to verify the authenticity and accuracy of the documentation
          and information submitted with, or otherwise provided to the Receiver in
          support of, your proof of claim form.

        Please note that the Receiver retains the right to dispute and verify any information you
provide, to dispute the amount of your claim, and to recommend a proper distribution amount to
the Court. Your submission of a proof of claim, however, does not guarantee receipt of a
distribution.

         Any person or entity that submits a proof of claim thereby submits to the exclusive
jurisdiction of the United States District Court for the Northern District of Illinois for all
purposes related to the Receivership, the Receivership Estate, and/or any of the Receivership
Defendants, including, without limitation, the litigation or resolution of any claims, objections,
or defenses that could be, or could have been, asserted by the Receiver against such claimant in
connection with any business transacted by or with any Receivership Defendant or otherwise
related to any asset in the Receivership Estate. Furthermore, claimants waive any right to a jury
trial with respect to such claims, objections, and defenses.




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                      GENERAL BACKGROUND & INSTRUCTIONS

1.     WHO MUST FILE A PROOF OF CLAIM

Any persons or entities seeking a distribution from the Receivership Estate in connection with
any claim arising between January 1, 2010 and August 17, 2018 must complete and submit a
proof of claim on or before ______, 2019. You must provide information in connection with
your proof of claim for the period from January 1, 2010 to August 17, 2018.

The following paragraphs will help you understand how to complete your proof of claim form, as
well as the types of documents needed to substantiate your claim(s). This proof of claim form
uses the following categories of claimants that also determine which sections of the proof of
claim form you must complete.

Investor-Lenders

If you loaned money to one or more of the Receivership Defendants, but do not operate a
commercial lending business and relied on EquityBuild or EquityBuild Finance to document
your loan, then you may be an "investor-lender." If you are an investor-lender, you may have
received, among other things, a Promissory Note evidencing your loan(s), a so-called "Collateral
Agency & Servicing Agreement," a mortgage (either in recorded or unrecorded form), and,
periodically, a document titled, "Lender Statement Of Account."

In most instances, investor-lenders were promised a mid-teen percentage annual return, with
interest payable monthly and a maturity of approximately 18-24 months. In addition, you may
have been given the opportunity or otherwise persuaded to "roll over" some or all of the
outstanding amount of your loan(s) at maturity by extending a new loan, on new terms, to the
same or a different entity, or by investing equity in an EquityBuild affiliate fund. Alternatively,
you may have sold some or all of your loan(s) to a non-EquityBuild entity, with additional
paperwork generated to document any of these transactions. If you are an investor-lender, you
must complete Sections 1, 2, 3, 9, and 10 of this proof of claim form.

Equity Investors

If you invested in a fund that owned, or promised to acquire, one or more properties and
therefore acquired a membership interest in a limited liability company (rather than a deeded
interest in the land), then you may be an "equity investor." The Receivership Defendants formed
a series of real estate funds for the alleged purpose of acquiring residential apartment buildings,
performing substantial rehabilitation work, and either refinancing or selling the buildings upon
stabilization of the improved asset. Examples of these real estate funds include “Chicago Capital
Fund” (CCF) and “South Side Development Fund” (SSDF) (all known real estate funds are
included on the list of Receivership Defendants identified on Exhibit A).

If you are an equity investor, you may have received a document titled, "Confidential Private
Offering Memorandum" (with exhibits, some of which you may have completed and returned).
Additionally, you may have become an equity investor because you were persuaded to "roll"



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some or all of the outstanding amount of a loan you made to one of the Receivership Defendants
into an equity interest in a fund entity. If you are an equity investor, you must complete Sections
1, 2, 4, 9, and 10 below.

Individuals and entities who were investor-lenders and who became equity investors by rolling
over the proceeds of a loan to one of the Receivership Defendants must complete this proof of
claim form as both an "investor-lender" and "equity investor” and must complete Sections 1, 2,
3, 4, 9, and 10 below.

Institutional Lenders

If you are a commercial or savings bank, savings and loan association, trust company, credit
union, industrial loan association, insurance company, pension fund, or business trust (including
but not limited to real estate investment trusts), or any other lender regularly engaged in the
business of financing the acquisition, construction, improvement, or ownership of real estate, or
if you purchased or received an assignment of any loan(s) made by such a lender, you may be an
“institutional lender.” Institutional lenders must complete Sections 1, 2, 5, 9, and 10 below.

Trade Creditors

If you supplied any of the Receivership Defendants with business goods or services, you may be
a trade creditor. Trade creditors include actual or potential lien claimants, such as property
managers, general contractors, subcontractors, materialmen, and insurance consultants. Trade
creditors must complete Sections 1, 2, 6, 9, and 10 below.

Employees

If you are an individual who worked either part-time or full-time for any of the Receivership
Defendants under a contract for hire or employment (whether express or implied), then you may
be an employee. You may have earned wages or a salary and your earnings would have been
subject to FICA (Social Security tax and Medicare) and income tax withholding. Employees
must complete Sections 1, 2, 7, 9, and 10 below.

(If you are an employee, you may also have been an investor-lender or equity investor. If your
claim relates to a loan or investment, then you must complete the proof of claim form as though
you were an investor-lender or equity investor. If your claim relates to employment
compensation, then you must complete the proof of claim form as an employee. If you have
claims relating to more than one of the foregoing categories of claimants, then you must
complete each applicable section for each instance in which you allege to be owed money or
entitled to other relief.)

Independent Contractors

If you are an individual or entity who performed work or provided services to any of the
Receivership Defendants but you were neither an employee nor a trade creditor, you may be an
independent contractor. Independent contractors must pay their own Social Security and



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Medicare taxes; the employer does not withhold any amounts with respect to FICA or taxes for
an independent contractor. Independent contractors must complete Sections 1, 2, 7, 9, and 10
below.

(If you are an independent contractor, you may also have been an investor-lender or equity
investor. If your claim relates to a loan or investment, then you must complete the proof of claim
form as though you were an investor-lender or equity investor. If your claim relates to
compensation from work or services provided, then you must complete the proof of claim form
as an independent contractor. If you have claims relating to more than one of the foregoing
categories of claimants, then you must complete each applicable section for each instance in
which you allege to be owed money or entitled to other relief.)

Other Claimants

If you believe you are owed money by, or otherwise entitled to relief against, any of the
Receivership Defendants, but your claim does not fit within any of the categories described
above, you may submit a claim by completing Sections 1, 2, 8, 9, and 10 below.

2.     WHEN AND WHERE TO FILE

       The Receiver has retained Axos Fiduciary Services to create and host a claims portal for
the Receiver (the “Axos Claims Portal”).

       Claimants will be provided a link to the Axos Claims Portal where they will be prompted
to create login information and complete and submit a proof of claim form (which can be
amended prior to the Bar Date). Each claimant must complete and verify the proof of claim
under penalty of perjury, and the proof of claim must be submitted with all required supporting
documentation to the Axos Claims Portal on or before the Bar Date of _____.

     THIS NOTICE APPLIES TO EVERY CLAIM AGAINST EQUITYBUILD,
EQUITYBUILD FINANCE, ANY OF THEIR AFFILIATES, OR THE AFFILIATE
ENTITIES OF JEROME COHEN AND SHAUN COHEN, OR ANY OTHER
RECEIVERSHIP DEFENDANT. IF YOU FAIL TO SUBMIT A PROOF OF CLAIM,
YOUR CLAIM MAY BE FOREVER BARRED. YOU MAY WISH TO CONSULT WITH
YOUR OWN ATTORNEY. YOU BEAR SOLE RESPONSIBILITY FOR CORRECTLY
AND TIMELY COMPLETING AND SUBMITTING YOUR PROOF(S) OF CLAIM.

3.     WHAT TO FILE

       A claimant should set forth on the claim form all claims that belong to him, her, or it.

       If you made more than one investment or loan each of which was made in the same
name, then only one proof of claim form must be completed and submitted.

        For example, if you made two loans in your own name, then you should submit one proof
of claim form reflecting both loans. If you made two loans made jointly with your spouse, then



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you should submit one proof of claim form reflecting yourself and your spouse as the joint
claimants. If you made two loans on behalf of a corporate entity, then the corporate entity
should submit one proof of claim form reflecting both loans. If you made two loans for an IRA
account, then you should submit one proof of claim form reflecting the IRA account as the
claimant on the two loans. If two loans were made for a trust account, then the trust account
should submit a claim reflecting both loans.

       On the other hand, if you have claims relating to loans, investments, and/or other
amounts that belong to more than one “claimant” (as illustrated by the examples below), you
must complete a separate proof of claim form for each such claimant. For example:

   •   If you made two separate loans, one in your individual capacity and one through an IRA
       account, you must complete and submit two separate proofs of claim: one reflecting your
       individual claim, and a separate one for the claim on behalf of your IRA.

   •   If you made two separate loans, one in your individual capacity and one through a trust
       account, you must complete and submit two separate proofs of claim: one reflecting your
       individual claim, and a separate one for the claim on behalf of your trust account.

   •   If you made two separate loans, one in your individual capacity and one through a
       brokerage account, you must complete and submit two separate proofs of claim: one
       reflecting your individual claim, and a separate one for the claim on behalf of your
       brokerage account.

   •   If you made two separate loans, one in your individual capacity and one through a
       corporate entity, you must complete and submit two separate proofs of claim: one
       reflecting your individual claim, and a separate one for the claim on behalf of the
       corporate entity.

   •   If you made two separate loans, one in your individual capacity and one as custodian for
       a minor, you must complete and submit two separate proofs of claim: one reflecting your
       individual claim, and a separate one for the claim on behalf of the custodial account.

       If you serve as a representative for a claimant (for example, as a trustee for a trust or as a
parent with control over a child’s custodial account), then the proof of claim form you submit
must identify your relationship to the claimant in Section 1(B) below (Secondary Contact
Information).

       Using this Court-approved proof of claim form, you must submit through the Axos
Claims Portal on or before the Bar Date: (1) the information requested in this proof of claim
form and (2) legible copies of all documents on which you base your claim or, to the extent that
any such documents are not available, a detailed explanation as to why they are not available.
You must also attest under oath to the authenticity and accuracy of the documentation and
information submitted with, or otherwise provided in support of, your claim.




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      Any claimant who fails to timely return a completed, signed, and sworn proof of claim
may be forever barred from asserting a claim against the Receivership Estate.

       You must inform the Receiver if you change your address after you submit your proof of
claim. In addition, you should also inform the Receiver if the electronic or physical address to
which this notice was delivered is incorrect.

       You should retain for your records a copy of this proof of claim form and all documents
submitted therewith.

        If you are an investor-lender and/or equity investor, a submission solely containing
EquityBuild lender statement(s) of account may not suffice to support your claim without
additional documentation. You must also provide documentation such as bank records to reflect
transfers and deposits of funds, to the extent such documents are available.

       Please note that you may have previously provided some or all of the information
requested on the proof of claim form directly to the Receiver. To be entitled to a distribution
from the Receivership Estate, however, the only documents that matter are your proof of claim
and the documents you submit to support it as described in the proof of claim form.

      Regardless of whether you previously submitted documentation to the Receiver, or
whether you are submitting documentation with this proof of claim, you must submit a
sworn statement consistent with Section 10, verifying and attesting to the accuracy and
completeness of all documentation you submit.

       Claims lacking sufficient supporting documentation may be disallowed.


DATED: _________________, 2019




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                            EXHIBIT 3




	                                                 	
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                                 PROOF OF CLAIM FORM

TO BE ELIGIBLE FOR A DISTRIBUTION YOU MUST SUBMIT ALL COMPLETED
SECTIONS OF THIS CLAIM FORM AND ALL SUPPORTING DOCUMENTS OR
OTHER EVIDENCE TO SUBSTANTIATE YOUR CLAIM ON OR BEFORE THE BAR
DATE, WHICH IS _____, 2019.

Regardless of whether you previously submitted documentation to the Receiver, or whether
you are submitting documentation with this proof of claim, you must submit a sworn
statement consistent with Section 10, verifying and attesting to the accuracy and
completeness of all documentation you submit.

Claims lacking sufficient supporting documentation may be disallowed.

                                     SECTION 1
                             Claimant Contact Information
                       (TO BE COMPLETED BY ALL CLAIMANTS)

A Claimant should set forth on the claim form all claims that belong to him, her, or it. Please
review Section 3 of the General Background & Instructions at the beginning of this Notice of Bar
Date & Proof of Claim Form.

NOTE: ALL CLAIMANTS MUST PROMPTLY NOTIFY THE RECEIVER IN
WRITING OF ANY CHANGES TO THE CONTACT INFORMATION PROVIDED
BELOW THROUGHOUT THE DURATION OF THE RECEIVERSHIP. FAILURE TO
NOTIFY THE RECEIVER OF SUCH CHANGES MAY RESULT IN YOUR NOT
RECEIVING FUNDS TO WHICH YOU MAY OTHERWISE BE ENTITLED.
CHANGES TO CLAIMANT CONTACT INFORMATION MAY BE EMAILED TO
equitybuildclaims@rdaplaw.net	OR MAILED TO THE ADDRESS BELOW: 	

                                   Kevin B. Duff, Receiver
                                    EquityBuild, Inc., et al.
                             c/o Rachlis Duff Peel & Kaplan, LLC
                               542 S. Dearborn Street, Suite 900
                                      Chicago, IL 60605

A.       Claimant Contact Information. (Provide the name and address of the actual person or
entity that made the loan/investment or is making the claim):

Claimant Name(s): ______________________________________________

Address:      ___________________________________________________

              ___________________________________________________

              ___________________________________________________
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Telephone Number(s): ___________________________________________

Email Address(s): _______________________________________________

*Social Security/Tax I.D. Number(s): _______________________________

*The Internal Revenue Service (IRS) requires that all U.S. recipients of distribution checks
provide social security or tax identification numbers to the Receiver. No check will be issued
without a corresponding social security or tax identification number.

B.     Secondary Contact Information

Check all that apply for the person or entity named as the Claimant in Section A above. (You
may list only one Secondary Contact):

       Primary contact for Claimant

       Attorney representing Claimant

       Person completing this form for Claimant

       Successor in interest

       Executor of Estate of _____________________________

       Legal successor in interest to a person or entity that is or claims to be owed money by one
       or more Receivership Defendants. Describe ________________

       Trustee of a trust that is or claims to be owed money by one or more Receivership
       Defendants. Identify trust _______________________________

_____ Alternate Contact. Describe ______________________________


Secondary Contact Name: ______________________________________

Address: ____________________________________________________

         ____________________________________________________


Telephone Number: __________________________________________

Email Address: _______________________________________________




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                                     SECTION 2
                                    Type of Claim
                        (TO BE COMPLETED BY ALL CLAIMANTS)

Please review the descriptions of the various claimant classes contained in the General
Background & Instructions at the beginning of this Notice of Bar Date & Proof of Claim Form
and complete the appropriate section below based upon the nature of your claim.

Each Claimant must submit his, her, or its own proof of claim form. A Claimant should set forth
on the claim form all claims that belong to him, her, or it. Please review Section 3 of the General
Background & Instructions at the beginning of this Notice of Bar Date & Proof of Claim Form.

                             Review and Determination of Claim

If you are unsure which type of claim you are filing, select the category that you believe most
closely describes the nature of your claim. Descriptions of the Claimant categories can be found
in the General Background & Instructions accompanying this form.

Prior to submitting his recommendation to the Court regarding distributions to Claimants, the
Receiver will review and determine whether any claims need to be reclassified. Please note that a
time frame has not yet been set for the processing of claims. The Receiver will process the
claims as expeditiously as possible.

A.     Type of Claimant (check all that apply)

       ____ Investor-Lender (Must complete Sections 1, 2, 3, 9, and 10.)

       ____ Equity Investor (Must complete Sections 1, 2, 4, 9, and 10.)

       ____ Institutional Lender (Must complete Sections 1, 2, 5, 9, and 10.)

       ____ Trade Creditor (Must complete Sections 1, 2, 6, 9, and 10.)

       ____ Employee (Must complete Sections 1, 2, 7, 9, and 10.)

       ____ Independent Contractor (Must complete Sections 1, 2, 7, 9, and 10.)

       ____ Other ___________________________ (Must complete Sections 1, 2, 8, 9, and 10.)

B.     Receivership Defendant Against Whom Claim Is Asserted.

               EquityBuild, Inc.

               EquityBuild Finance, LLC

       ______ Other Affiliate Entity (Identify): __________________


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                                      SECTION 3
                                     Amount of Claim
                        (TO BE COMPLETED BY INVESTOR-LENDERS)*

  * Descriptions of the Claimant categories can be found in the General Background &
  Instructions accompanying this form.

  A.      Claim Details

  For this Section, if you are an Investor-Lender, you must provide the total amount you contend
  you are owed, along with details about the money you loaned, the nature of any security for your
  loan(s) (if applicable), and all money returned or paid to you.
          Claimant’s EquityBuild Account Number(s) (if known): _______________________

          Total amount you loaned to the Receivership Defendants: $_______________

          Total amount you received from the Receivership Defendants: $_______________

                 $_______________ Cumulative interest you received on your loan (if known)
                 $_______________ Principal returned to you (if known)
                 $_______________ Other amounts you received. Describe: _______________

          Other amounts you claim: $ __________

                 Describe the basis for the other amounts you claim: __________

          Total amount of claim (as of August 18, 2018): $_______________


Loan     Property      Was        Borrower     Amount Total         Amount      All other    Date of loan
number   address(es)   your       (i.e.,       of loan Amount       of          amounts      (mm/dd/yyyy)
(if      associated    loan       Receivership         of           principal   received
known)   with loan     secured?   Defendant            interest     returned    (and
                       Y / N**    you loaned           you          to you      reason(s)
                                  funds to)            received                 for
                                  (if known)                                    payment,
                                                                                such as
                                                                                dividends,
                                                                                fees,
                                                                                penalties,
                                                                                or bonus
                                                                                payments)
                                               $         $          $           $            __ /__ /____
                                               $         $          $           $            __ /__ /____




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** A claim may be secured if you are the beneficiary under a deed of trust or mortgage relating
to the debt owed to you or if specific collateral has been pledged to secure payment of a debt
owed to you. If you contend that your claim relating to any loan is secured, you must identify all
collateral that allegedly secures your claim and provide copies of all supporting documentation,
including, but not limited to, mortgages, promissory notes, and collateral agency and servicing
agreements.

B.     Rollover

If you “rolled over” any proceeds of your loan(s) at maturity by extending a new loan (secured
and/or unsecured), on new terms, to the same or a different entity, you must complete this
Section. If you “rolled over” any proceeds of your loan(s) into an investment in a fund
sponsored by EquityBuild or another Receivership Defendant, you must also complete Section 4
below (the Section for Equity-Investors).

Original    Original         Amount         Date converted     New loan (including the new loan
loan number loan             converted or   or rolled over     number, property address, and
(if known)  amount           rolled over    (mm/dd/yyyy)       terms of the new loan or note, if
                                                               available) into which original
                                                               loan was rolled over
              $              $              __ /__ /____
              $              $              __ /__ /____

C.     Buyouts / Loan Purchases

Did you purchase another investor-lender’s interest or note? Y__ / N __

If you purchased or bought out another investor-lender’s interest or note, then you must complete
the table below:

Name of the       Amount         Terms of the Was the loan     Date of            Other
investor-lender   you paid       loan you     you              purchase           information
whose interest    for the        purchased    purchased        (mm/dd/yyyy)       pertinent to the
you purchased     loan                        secured?                            purchase
                                              Y / N **
                  $                           Y __ / N __
                  $                           Y __ / N __

** A claim may be secured if you are the beneficiary under a deed of trust or mortgage relating
to the debt owed to you or if specific collateral has been pledged to secure payment of a debt
owed to you. If you contend that your claim relating to any loan is secured, you must identify all
collateral that allegedly secures your claim and provide copies of all supporting documentation,
including, but not limited to, mortgages, promissory notes, and collateral agency and servicing
agreements.




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D.     Other Payments, Property, or Items you Received from any Receivership Defendant

If not set forth in your response to earlier questions, provide information regarding any other
payment, property, or other consideration you received from any Receivership Defendant in
partial or full satisfaction of any obligation of any Receivership Defendant to you (such as
property or funds you received that you understood were intended to be applied to repay amounts
that were due to you from a Receivership Defendant):
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

Total value of such other payment, property, or consideration you received from any
Receivership Defendant: $_______________

YOU ARE REQUIRED TO PROVIDE COPIES OF ALL DOCUMENTATION SUPPORTING
YOUR CLAIM. PLEASE SUBMIT COPIES AND RETAIN THE ORIGINALS FOR YOUR
RECORDS. FAILURE TO SUBMIT SUPPORTING DOCUMENTATION MAY RESULT IN
YOUR CLAIM BEING REJECTED OR REDUCED.

IF THE INFORMATION ABOVE INCLUDES ALL OF YOUR CLAIMS, YOU MUST
PROCEED TO SECTIONS 9 AND 10.




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                                   SECTION 4
                                 Amount of Claim
                     (TO BE COMPLETED BY EQUITY INVESTORS)*

* Descriptions of the Claimant categories can be found in the General Background &
Instructions accompanying this form.

A.     Claim Details

For this Section, if you are an Equity-Investor, you must provide the total amount you contend
you are owed along with details about the money you invested and any money returned or paid
to you.
        Claimant’s EquityBuild Account Number(s) (if known): _______________________

       Total amount you invested directly with the Receivership Defendants: $______________

       Total amount you rolled over (from Section 3(B)): $_____________

       Total amount you received from the Receivership Defendants: $_______________

       Other amounts you claim: $ __________

               Describe the basis for the other amounts you claim: __________

       Total amount of claim (as of August 18, 2018): $_______________

Name of     Property        Amount         Date of          Monies             Reason    Entity
fund or     address(es)     you            investment       received from      for       making
entity in   associated      invested       (mm/dd/yyyy)     this investment    payment   payment
which       with fund (if                                   (i.e.,             (if       (if
you         applicable)                                     distributions      known)    known)
invested                                                    and/or return of
                                                            capital)
                            $              __ /__ /____
                            $              __ /__ /____

B.      Rollover
Individuals and entities who became equity investors by rolling the proceeds of a loan into a fund
offering must complete this Section.

Original       Original investment           Amount          Date converted      Name of fund or
loan number    (i.e., amount of original     converted or    or rolled over      entity into which
(if known)     loan, including property      rolled over     (mm/dd/yyyy)        original loan was
               address(es)                                                       rolled over
                                             $               __/ __/ ____
                                             $               __/ __/ ____


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C.     Buyout

Did you purchase or buy out another equity investor’s interest in any Receivership Defendant?
Y__ / N __

If you purchased or bought out another equity-investor, then you must complete the table below:

Name of equity-         Purchase    Description of the    Date of purchase     Other pertinent
investor whose          price       interest you          (mm/dd/yyyy)         information
interest you                        purchased
purchased

                        $
                        $

D.     Other Payments, Property, or Items you Received from any Receivership Defendant

If not set forth in your response to earlier questions, provide information regarding any other
payment, property, or other consideration you received from any Receivership Defendant in
partial or full satisfaction of any obligation of any Receivership Defendant to you (such as
property or funds you received that you understood were intended to be applied to repay amounts
that were due to you from a Receivership Defendant):
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

Total value of such other payment, property, or consideration you received from any
Receivership Defendant: $_______________

YOU ARE REQUIRED TO PROVIDE COPIES OF ALL DOCUMENTATION SUPPORTING
YOUR CLAIM. YOU SHOULD SUBMIT COPIES AND RETAIN THE ORIGINALS FOR
YOUR OWN RECORDS. FAILURE TO SUBMIT SUPPORTING DOCUMENTATION MAY
RESULT IN YOUR CLAIM BEING REJECTED OR REDUCED.

IF THE INFORMATION ABOVE INCLUDES ALL OF YOUR CLAIMS, YOU MUST
PROCEED TO SECTIONS 9 AND 10.




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                                    SECTION 5
                                  Amount of Claim
                   (TO BE COMPLETED BY INSTITUTIONAL LENDERS)*

* Descriptions of the Claimant categories can be found in the General Background &
Instructions accompanying this form.

A.     Total Amount of Claim

For this Section, if you are an Institutional Lender, you must itemize all components of your
claim and specify the total amount you contend you are owed. Any outstanding principal
amount you list below must be net of the amount of each principal payment you received on that
loan.

For any loan interest you claim, describe the basis on which you calculated that amount,
including references to specific sections of any documents supporting your calculations. For
each other amount you claim, describe the nature of the amount sought (for example, fees,
penalties, other costs) and the basis on which you are claiming the amount (including references
to specific sections of any documents supporting your claim).

Address(es)    Outstanding    Contract    Contract    Default     Default    Other       Basis of
of             principal      interest    interest    rate        rate       amounts     each
propert(ies)   balance        accrued     accrued     interest    interest   claimed     other
serving as                    before      on or       accrued     accrued                amount
collateral                    August      after       before      on or                  claimed
                              18, 2018    August      August      after
                                          18, 2018    18, 2018    August
                                                                  18, 2018
               $              $           $           $           $          $
               $              $           $           $           $          $
               $              $           $           $           $          $

If you are an Institutional Lender, you may submit an Excel spreadsheet (in native format) in lieu
of completing the foregoing chart in the Axos Claims Portal. You must name the spreadsheet as
follows: “[NAME OF CLAIMANT]: AMOUNTS CLAIMED" and submit it as provided in
Section 9 below.

You must check this box ____ if you are submitting a native Excel spreadsheet in lieu of
completing the foregoing chart in the Axos Claims Portal.

B.     Details about Money you Loaned

If you are an Institutional Lender, you must provide details regarding each loan you made to any
Receivership Defendant, including the amount you loaned. Do not include any amounts of
interest, fees, or other sums you are claiming in this table.




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Loan number      Date of loan Borrower            Original         Is loan           Property
                 (mm/dd/yyyy) (Receivership       amount you       secured?          address(es)
                              Defendant to        loaned                             associated
                              which funds                          Y/N               with loan (if
                              were sent)                                             applicable)
                 __ /__ /____                     $
                 __ /__ /____                     $

If you are an Institutional Lender, you may submit an Excel spreadsheet (in native format) in lieu
of completing the foregoing chart in the Axos Claims Portal. The spreadsheet must be in format
identical to the chart below. You must name the spreadsheet as follows: “[NAME OF
CLAIMANT]: MONEY LOANED” and submit it as provided in Section 9 below.

You must check this box ____ if you are submitting a native Excel spreadsheet in lieu of
completing the foregoing chart in the Axos Claims Portal.

C.     Details about Security for your Loan(s)

If you are an Institutional Lender and you contend your claim relating to any loan is secured, you
must identify any collateral that you contend secures your claim and the basis for your
contention (i.e., a claim may be secured if you are the beneficiary under a deed of trust or
mortgage relating to the debt owed to you, or if specific collateral has been pledged to secure
payment of a debt owed to you):

Description of    Describe the contractual or other basis for contention that loan is secured
Collateral        (list contract or other written basis, including section references)



If you are an Institutional Lender, you may submit an Excel spreadsheet (in native format) in lieu
of completing the foregoing chart in the Axos Claims Portal. The spreadsheet must be in format
identical to the chart below. You must name the spreadsheet as follows: “[NAME OF
CLAIMANT]: SECURITY FOR LOAN(S)” and submit it as provided in Section 9 below.

You must check this box ____ if you are submitting a native Excel spreadsheet in lieu of
completing the foregoing chart in the Axos Claims Portal.

D.     Details about Money Returned and/or Paid to you

If you are an Institutional Lender making a claim, you must complete this Section.

Have you received any payment of monies including interest, principal, fees, or other sums from
any Receivership Defendant?

       ______ Yes     /       ______ No



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If you answered “YES” you must provide the following information for each payment and
amount received:

Loan       Date of      Name      Amount            Amount      Other amounts   Description of
number     payment      of entity of                of          (i.e., fees,    other amounts
           (mm/dd/yyyy) making interest             principal   reimbursements) (fees,
                        payment                                                 reimbursements,
                                                                                etc.)
           __ /__ /____                $            $           $
           __ /__ /____                $            $           $

If you are an Institutional Lender, you may submit an Excel spreadsheet (in native format) in lieu
of completing the foregoing chart in the Axos Claims Portal. The spreadsheet must be in format
identical to the chart below. You must name the spreadsheet as follows: “[NAME OF
CLAIMANT]: MONEY RETURNED AND OR PAID” and submit it as provided in Section 9
below.

You must check this box ____ if you are submitting a native Excel spreadsheet in lieu of
completing the foregoing chart in the Axos Claims Portal.

E.     Other Payments, Property, or Items you Received from any Receivership Defendant

If not set forth in your response to earlier questions, provide information regarding any other
payment, property, or other consideration you received from any Receivership Defendant in
partial or full satisfaction of any obligation of any Receivership Defendant to you (such as
property or funds you received that you understood were intended to be applied to repay amounts
that were due to you from a Receivership Defendant):
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

Total value of such other payment, property, or consideration you received from any
Receivership Defendant: $_______________

F.     Amounts of any Reserve, Escrow, or Other Funds you hold Relating to your Loan(s)

If you hold any funds that constitute reserves, escrows, deposits, or other amounts that relate to
your loan(s), whether or not the documents relating to your loan(s) describe any such funds as
under your control as lender, you must complete the following information:




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Loan        Borrower    Debt         Capital     Tax       Insurance Other              Describe
number                  service      expenditure reserve   reserve or funds             amounts
                        reserve      reserve or  or escrow escrow                       listed
                        or escrow    escrow                                             under
                                                                                        “other
                                                                                        funds”
                        $            $               $         $            $
                        $            $               $         $            $

If you are an Institutional Lender, you may submit an Excel spreadsheet (in native format) in lieu
of completing the foregoing chart in the Axos Claims Portal. The spreadsheet must be in format
identical to the chart below. You must name the spreadsheet as follows: “[NAME OF
CLAIMANT]: RESERVE, ESCROW, AND OTHER FUNDS” and submit it as provided in
Section 9 below.

You must check this box ____ if you are submitting a native Excel spreadsheet in lieu of
completing the foregoing chart in the Axos Claims Portal.

If you have submitted a certified statement concerning receivership assets (“Statement”)
pursuant to Paragraph 17(C) of the Order Appointing Receiver (Docket No. 16), you do not need
to complete the chart above if the Statement includes all of the information requested in the chart
above and you complete the following two items:

Claimant has submitted to the Court and served on the Receiver a Statement (as defined above)
_____ (check if yes)

Date Statement was filed and served: __________

YOU ARE REQUIRED TO PROVIDE COPIES OF ALL DOCUMENTATION SUPPORTING
YOUR CLAIM. IF YOU ARE AN INSTITUTIONAL LENDER AND YOU PREVIOUSLY
SUBMITTED DOCUMENTS TO THE RECEIVER OR HIS COUNSEL ELECTRONICALLY,
YOU DO NOT HAVE TO RE-SUBMIT DOCUMENTS TO THE AXOS CLAIMS PORTAL
BUT YOU MUST PROVIDE A LIST OF ALL DOCUMENTS SUBMITTED AND WHEN.
YOU MUST RE-SUBMIT DOCUMENTS TO THE AXOS CLAIMS PORTAL IF YOU
PREVIOUSLY SUBMITTED HARD COPY DOCUMENTS. YOU MUST SUBMIT COPIES
AND RETAIN ORIGINAL DOCUMENTS FOR YOUR OWN RECORDS.

IF THE INFORMATION ABOVE INCLUDES ALL OF YOUR CLAIMS, YOU MUST
PROCEED TO SECTIONS 9 AND 10.




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                                     SECTION 6
                                   Amount of Claim
                       (TO BE COMPLETED BY TRADE CREDITORS)*

* Descriptions of the Claimant categories can be found in the General Background &
Instructions accompanying this form.

A.     Claim Details

If you are a Trade Creditor (including actual or potential lienholders), you must provide the
information below:

       1.      This claim arose from:

               ____ Services provided

               ____ Goods supplied / provided

               ____ Contract

               ____ Other _______________________________

       2.      Total amount of claim as of August 18, 2018: _______________________

You must complete the chart below if you are a Trade Creditor:

Date of service/delivery of    Invoice      Amount of       Description of contract and/or
goods/contract                 number       invoice         services or goods provided
(mm/dd/yyyy)
__ / __ / ____                              $
__ / __ / ____                              $

YOU ARE REQUIRED TO PROVIDE COPIES OF ALL DOCUMENTATION SUPPORTING
YOUR CLAIM. PLEASE MUST SUBMIT COPIES AND RETAIN THE ORIGINALS FOR
YOUR RECORDS. FAILURE TO SUBMIT SUPPORTING DOCUMENTATION MAY
RESULT IN YOUR CLAIM BEING REJECTED OR REDUCED.

IF THE INFORMATION ABOVE INCLUDES ALL OF YOUR CLAIMS, YOU MUST
PROCEED TO SECTIONS 9 AND 10.




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                              SECTION 7
                             Amount of Claim
     (TO BE COMPLETED BY EMPLOYEES AND INDEPENDENT CONTRACTORS)*

* Descriptions of the Claimant categories can be found in the General Background &
Instructions accompanying this form.

A.    EMPLOYEE SECTION

If you were an Employee of EquityBuild, Inc., EquityBuild Finance LLC, and/or any other
Receivership Defendant, you must provide the information below:

      1.     Position(s) held: ________________________

      2.     First day of employment: ________________________	

             Last day of employment: ________________________

      3.   Total amount you claim to be owed:	________________________	
      	
      You must specify the amounts you claim to be owed based on the following categories:

             a. Wages: $_____

             b. Commissions: $_____

             c. Expenses: $_____

             d. Other: $_____ Describe: ________________

      4.     Period(s) for which compensation is owed: ________________________

      5.     At any time, did you receive any real or personal property from any of the
      Receivership Defendants? ___ Y / ___ N

             If you answered yes, you must provide the following information:

             a. Description of such real or personal property _______________

             b. Identify Receivership Defendant from which you received such real or
             personal property: __________

             c. Specify the last known or approximate value of such realty or personal
             property: ____________________________

             d. Do you still possess any or all of such real or personal property? ___ Y / ___ N


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B.     INDEPENDENT CONTRACTOR SECTION

If you were an Independent Contractor for EquityBuild, Inc., EquityBuild Finance LLC, and/or
any Receivership Defendant, you must provide the information below:

       1.     Total amount of claim as of August 18, 2018: ________________________	

       3.     Description of services provided: ________________________

       4.     Date of contract/agreement for services: ________________________

       5.     Name of Receivership Defendant or other person or entity that engaged you to
       provide services:	________________________

       6.     At any time, did you receive any real or personal property from any of the
       Receivership Defendants? ___ Y / ___ N

              If you answered yes, you must provide the following information:

              a. Description of such real or personal property _______________

              b. Identify Receivership Defendant from which you received such real or
              personal property: __________

              c. Specify the last known or approximate value of such realty or personal
              property: ____________________________

              d. Do you still possess any or all of such real or personal property? ___ Y / ___ N

You must complete the chart below if you were an Independent Contractor:

Date of services   Invoice           Amount of          Description of contract and/or services
(mm/dd/yyyy)       number            invoice            provided
__ / __ / ____                       $
__ / __ / ____                       $

YOU ARE REQUIRED TO PROVIDE COPIES OF ALL DOCUMENTATION SUPPORTING
YOUR CLAIM. PLEASE SUBMIT COPIES AND RETAIN THE ORIGINALS FOR YOUR
RECORDS. FAILURE TO SUBMIT SUPPORTING DOCUMENTATION MAY RESULT IN
YOUR CLAIM BEING REJECTED OR REDUCED.

IF THE INFORMATION ABOVE INCLUDES ALL OF YOUR CLAIMS, YOU MUST
PROCEED TO SECTIONS 9 AND 10.




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                              SECTION 8
                            Amount of Claim
 (TO BE COMPLETED BY ONLY BY CLAIMANTS NOT REQUIRED TO FILE UNDER A
                PRIOR SECTION OF THIS PROOF OF CLAIM)*

* Descriptions of the Claimant categories can be found in the General Background &
Instructions accompanying this form.

A.     Claim Details

If you have a claim that you do not believe fits within one of the categories described elsewhere,
you must submit a detailed description of your claim together with all supporting documentation.

       Amount claimed as of August 18, 2018: $ ________________

       Explain the basis for your claim (i.e., how did your claim arise?):

       ____________________________________________________________

       ____________________________________________________________


YOU ARE REQUIRED TO PROVIDE COPIES OF ALL DOCUMENTATION SUPPORTING
YOUR CLAIM. PLEASE SUBMIT COPIES AND RETAIN THE ORIGINALS FOR YOUR
RECORDS. FAILURE TO SUBMIT SUPPORTING DOCUMENTATION MAY RESULT IN
YOUR CLAIM BEING REJECTED OR REDUCED.

IF THE INFORMATION ABOVE INCLUDES ALL OF YOUR CLAIMS, YOU MUST
PROCEED TO SECTIONS 9 AND 10.




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                                     SECTION 9
                               Documents Supporting Claim
                        (TO BE COMPLETED BY ALL CLAIMANTS)

IMPORTANT: You are required to upload copies of all documents supporting your claim.
Failure to submit supporting documentation may result in your claim being rejected or reduced.
There are no limitations on the size of documents that can be uploaded. Acceptable file types
include .xls, .xlsx, .doc, .docx, .ppt, .pptx, .pdf, and .jpg. You must upload each document or
category of documents separately.

Documents that can be submitted to support your claim include copies of contracts, invoices,
canceled checks (front and back), account statements, accrual reports, investment profiles,
appraisals, loan agreements, mortgages, deeds in trust, assignments of rent, promissory notes,
collateral agency and servicing agreements, mortgage releases, operating agreements, offering
memoranda, private placement memoranda, and reinvestment forms.

If you are an investor-lender and/or equity investor, submitting only an EquityBuild lender
statement of account to support a claim may not be sufficient without additional documentation.
You must also provide documentation such as bank records to show withdrawals, transfers, and
deposits of funds, to the extent available.

If you are an institutional lender, you must also submit copies of all loan applications, appraisals,
underwriting files, loan documents, closing statements, wiring instructions, title commitments,
and title insurance policies. To the extent that you previously submitted these documents to the
Receiver or his counsel electronically, you do not have to re-submit those documents through the
Axos Claims Portal, but you must submit through the Axos Claims Portal a list of each
previously submitted document and the date and manner in which you submitted it (for example,
“Attachment to email sent 9/1/2018 to EquityBuildReceiver@rdaplaw.net by [identify sender]”).
Any documents that you provided to the Receiver only in hard copy form must be re-submitted
to the Axos Claims Portal as provided in this Section 9.

Regardless of whether you previously submitted documentation to the Receiver, or whether
you are submitting documentation with this proof of claim, you must submit a sworn
statement consistent with Section 10, verifying and attesting to the accuracy and
completeness of all documentation you submit.

Claims lacking sufficient supporting documentation may be disallowed.

IF THE INFORMATION ABOVE INCLUDES ALL OF YOUR CLAIMS, YOU MUST
PROCEED TO SECTION 10.




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                                    SECTION 10
                                   Representations
                        (TO BE COMPLETED BY ALL CLAIMANTS)

By signing and submitting this proof of claim, all claimants make the following representations:

       a) Claimant/creditor acknowledges and agrees that by submitting this proof of claim,
          claimant/creditor subjects his/her/its claim to the jurisdiction of the United States
          District Court for the Northern District of Illinois, Eastern Division, which is
          administering the Receivership Estate (“Receivership Court”). Claimant/creditor
          further agrees that his/her/its claim shall be adjudicated, determined, and paid as
          ordered by the Receivership Court. Claimant/creditor further consents to, and
          understands that the Receivership Court will determine, (i) his/her/its right to any
          money from the Receivership Estate, if any is available; (ii) the priority of his/her/its
          claim; (iii) the scheduling and allocation of any assets to be distributed; and (iv) all
          objections and disputes regarding the allowance of his/her/its claim by the Receiver,
          which shall be submitted to and subject to review by the Receivership Court for a
          final ruling without a jury.

       b) The undersigned represents that he or she possesses the authority to sign this proof of
          claim on behalf of the person(s) or entit(ies) for whom this proof of claim is
          submitted.

       c) Claimant/creditor represents that claimant/creditor has not sold, assigned, transferred,
          or in any way conveyed any interest in his/her/its claim against the Receivership
          Estate. From the date of this form, claimant/creditor agrees not to sell, convey,
          assign, or transfer any interest in his/her/its claim against the Receivership Estate
          prior to the date(s) of distribution. In the event that his/her/its interest is transferred
          prior to the date of any distribution, except by operation of law, claimant/creditor
          agrees that such transfer or assignment shall be null and void and unenforceable by
          any successor third party.

       d) Claimant/creditor hereby affirms and attests, under penalty of perjury, that all of the
          information set forth herein and submitted to the Receiver in connection with this
          proof of claim is truthful, accurate, complete, and presented in a manner so as to not
          be misleading, to the best of claimant’s/creditor’s knowledge and belief.
          Claimant/creditor further affirms and attests, under penalty of perjury, that all
          documentation submitted in connection with this proof of claim is genuine, authentic,
          accurate, and complete, to the best of claimant’s/creditor’s knowledge and belief.




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I declare under penalty of perjury under the laws of the United States of America that all
of the statements made in this Proof of Claim are true and correct.

Claimant Name(s)



Authorized Signature (Proof of claim not valid unless signed)




Print Name



Date



YOU SHOULD RETAIN THE CONFIRMATION EMAIL YOU RECEIVE ALONG
WITH YOUR REFERENCE NUMBER AND THE ORIGINALS OF ALL SUPPORTING
DOCUMENTATION SUBMITTED HEREWITH. YOU SHOULD RETAIN YOUR
CONFIRMATION EMAIL AND REFERENCE NUMBER TO BE USED IN THE EVENT
YOUR CLAIM IS NOT RECEIVED.




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                                     EXHIBIT A
                              RECEIVERSHIP DEFENDANTS

The Receivership Defendants include but are not limited to the entities listed below.
Parenthetical information reflects state of organization.

      •   EquityBuild, Inc.
      •   EquityBuild Finance LLC
      •   109 N. Laramie, Inc.
      •   400 S. Kilbourn LLC
      •   1422 E68 LLC
      •   1632 Shirley LLC
      •   1700 Juneway LLC
      •   2136 W 83RD LLC
      •   2537 N McVicker LLC
      •   3400 Newkirk, LLC
      •   4520-26 S. Drexel LLC - n/k/a SSDF1 4520 S Drexel LLC
      •   4528 Michigan LLC
      •   4533-37 S. Calumet LLC
      •   4611-17 S. Drexel, LLC
      •   4750 Indiana LLC – n/k/a 4750 S Indiana, LLC
      •   4755 S Saint Lawrence Association Co.
      •   5001 S. Drexel LLC (DE)
      •   5001 S. Drexel LLC (IL)
      •   5411 W Wrightwood LLC
      •   5450 S. Indiana LLC
      •   5618 S MLK LLC
      •   5955 Sacramento, Inc.
      •   6001 Sacramento, Inc.
      •   6217-27 S. Dorchester LLC
      •   6250 S. Mozart, LLC
      •   6356 California, Inc.
      •   6437 S Kenwood, LLC
      •   6951 S Merrill LLC
      •   7024 S. Paxton LLC
      •   7026 Cornell, Inc.
      •   7107-29 S Bennett LLC
      •   7109 S. Calumet LLC
      •   7201 Constance Inc.
      •   7201 S Constance LLC
      •   7304 St. Lawrence, Inc.
      •   7450 Luella LLC
      •   7546 Saginaw, Inc.
      •   7546 S. Saginaw LLC
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  •   7600 S Kingston, LLC
  •   7625 East End, Inc.
  •   7625-35 S. East End LLC
  •   7760 Coles, Inc.
  •   7635 East End, Inc.
  •   7748 S. Essex LLC
  •   7749-59 S. Yates LLC
  •   7752 S. Muskegon LLC
  •   7823 Essex LLC
  •   7922 S Luella LLC
  •   7927-49 S Essex LLC
  •   7933 S Kingston LLC
  •   7945 S Kenwood LLC
  •   8000 Justine, Inc.
  •   8100 S. Essex LLC
  •   8104 S Kingston LLC
  •   8153 S Avalon LLC
  •   8209 S. Ellis, LLC
  •   8214 Ingleside, Inc.
  •   8217 Dorchester LLC
  •   8311 S Green LLC
  •   8432 S Throop Associates
  •   8725 S Ada LLC
  •   8745 S Sangamon LLC
  •   8801 S Bishop LLC
  •   8809 S Wood Associates
  •   9158 S Dobson LLC
  •   11318 S Church St Associates
  •   Amalgamated Capital Fund II LLC
  •   Amalgamated Capital Fund III LLC
  •   Chicago Capital Fund I LLC
  •   Chicago Capital Fund II LLC
  •   Chief Management LLC
  •   EB 6558 S. Vernon LLC
  •   EB Property Holdings LLC
  •   EB South Chicago 1, LLC
  •   EB South Chicago 2, LLC
  •   EB South Chicago 3 LLC
  •   EB South Chicago 4 LLC
  •   EB South Chicago 1 Manager, LLC
  •   EB South Chicago 2 Manager, LLC
  •   Eretz Private Capital LLC
  •   Friendship LLC
  •   Great Lakes Development Corp LLC


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  •   Hard Money Company, LLC
  •   Heartland Capital Fund I LLC
  •   Heartland Capital Fund II, LLC
  •   Heartland Development Fund I LLC
  •   Heartland Private Capital, LLC
  •   Hybrid Capital Fund LLC
  •   Offsite Asset Management I LLC
  •   Offsite Asset Management II LLC
  •   Offsite Asset Management LLC
  •   Phoenix Capital Finance LLC
  •   Portfolio Asset Holdings LLC
  •   Portfolio Mezzanine Lender, LLC
  •   Rothbard Equity Fund LLC
  •   South Shore Property Holdings LLC (DE)
  •   South Shore Property Holdings LLC (WY)
  •   South Shore Property Holdings I LLC
  •   South Shore Property Holdings II LLC (DE)
  •   South Shore Property Holdings II LLC (WY)
  •   South Shore Property Holdings III LLC
  •   South Side Development Fund 1 LLC
  •   South Side Development Fund 2 LLC
  •   South Side Development Fund 3 LLC
  •   South Side Development Fund 4 LLC
  •   South Side Development Fund 5 LLC
  •   South Side Development Fund 6 LLC
  •   South Side Development Fund 7 LLC
  •   South Side Development Fund 8, LLC
  •   SSDF1 4611 S. Drexel LLC
  •   SSDF1 6751 S Merrill LLC
  •   SSDF1 7110 S Cornell LLC
  •   SSDF1 Holdco 1, LLC
  •   SSDF1 Holdco 2 LLC
  •   SSDF1 Holdco 3 LLC
  •   SSDF1 Holdco 4 LLC
  •   SSDF2 1139 E 79th LLC
  •   SSDF2 Holdco 1 LLC
  •   SSDF2 Holdco 2 LLC
  •   SSDF2 Holdco 3 LLC
  •   SSDF3 Holdco 1 LLC
  •   SSDF3 Holdco 2 LLC
  •   SSDF4 638 N Avers LLC
  •   SSDF4 701 S 5th LLC
  •   SSDF4 6217 S. Dorchester LLC
  •   SSDF4 6250 S. Mozart LLC


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  •   SSDF4 7024 S Paxton LLC
  •   SSDF4 7255 S. Euclid LLC
  •   SSDF4 Holdco 1 LLC
  •   SSDF4 Holdco 2 LLC
  •   SSDF4 Holdco 3 LLC
  •   SSDF4 Holdco 4 LLC
  •   SSDF4 Holdco 5 LLC
  •   SSDF4 Holdco 6 LLC
  •   SSDF5 Holdco 1 LLC
  •   SSDF5 Portfolio 1 LLC
  •   SSDF6 6160 S MLK LLC
  •   SSDF6 6244 S MLK LLC
  •   SSDF6 Holdco 1 LLC
  •   SSDF6 Holdco 2 LLC
  •   SSDF7 2453 E 75TH LLC
  •   SSDF7 7600 S Kingston LLC
  •   SSDF7 Holdco 1 LLC
  •   SSDF7 Holdco 2 LLC
  •   SSDF7 Holdco 3 LLC
  •   SSDF7 Holdco 4 LLC
  •   SSDF7 Marquette Park LLC
  •   SSDF7 Portfolio 1 LLC
  •   SSDF8 Holdco 1 LLC
  •   SSDF8 Portfolio 1 LLC
  •   SSPH 6951 S Merrill LLC
  •   SSPH 7927-49 S. Essex LLC
  •   SSPH 11117 S Longwood LLC
  •   SSPH Holdco 1 LLC
  •   SSPH Holdco 2 LLC
  •   SSPH Portfolio 1 LLC
  •   SSPH Springer LLC
  •   Tikkun Holdings, LLC
  •   Any affiliate entity of EquityBuild Inc., EquityBuild Finance LLC, Jerome Cohen, and/or
      Shaun Cohen




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